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13                              UNITED STATES DISTRICT COURT
14                              FOR THE DISTRICT OF ARIZONA
15
     United States of America,                       CASE NO.       CR-18-00422-PHX-SMB
16

17                 Plaintiff,                        UNOPPOSED MOTION TO EXTEND
            vs.                                      TIME FOR FILING MICHAEL
18                                                   LACEY’S REPLY TO RULE 29
     Michael Lacey, et al.,
19

20                 Defendants.
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22
            Erin McCampbell Paris hereby moves for an extension of its deadline to reply in
23
     support to Michael Lacey’s Rule 29 motion. The current deadline is January 16, 2024.
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25   Mrs. Paris requests that the Court extend the reply deadline by 2 days, to January 18,
26   2024. Mrs. Paris makes this request because I am c urrently home ill and unable to finish
27

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              Case 2:18-cr-00422-DJH Document 2028 Filed 01/16/24 Page 2 of 3




     preparing the Reply. Mrs. Paris has consulted with the assigned AUSAs, who do not
 1

 2   oppose the requested extension of the response time.
 3

 4
            RESPECTFULLY SUBMITTED this 16th day of January, 2024.
 5

 6                                             LIPSITZ GREEN SCIME CAMBRIA LLP
 7
                                               By: /s/          Erin McCampbell Paris
 8
                                                         PAUL J. CAMBRIA, JR.
 9                                                       Attorney for Defendant Michael Lacey
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     On January, 2019, a PDF version
24   of this document was filed with the
25
     Clerk of Court using the CM/ECF
     System for filing and for Transmittal
26   Of a Notice of Electronic Filing to the
27   Following CM/ECF registrants:

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